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                       UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

RACHEL DEPALMA                               )    CASE NO. 5:22-CV-00091
                                             )
       Plaintiff,                            )
                                             )    JUDGE:
v.                                           )
                                             )
SAMANTHA KERNS,                              )    COMPLAINT FOR
TRACY KORSLUND,                              )    DEFAMATION FALSE LIGHT,
LAURINDA KIRK,                               )    AND CONSPIRACY
                                             )
       Defendants.                           )    JURY TRIAL DEMANDED
                                             )

      NOW COMES Plaintiff Rachel DePalma (“Plaintiff”), by and through

undersigned counsel, and for her Complaint against Defendants Samantha Kerns,

Tracy Korslund, and Laurinda Kirk, (collectively “Defendants”) states as follows:

                                    PARTIES

      1.     Plaintiff Rachel DePalma is an individual residing in San Jose,

California. Plaintiff owns a nonprofit organization called “No Peace No Quiet,”

which is devoted to lobbying for legislation to support domestic violence and abuse

victims, as well as recommending public resources to assist victims of domestic

violence. Plaintiff promotes her business and its resources on popular social media

websites, including the popular social media site, TikTok.



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      2.     Defendant Samantha Kerns (“Kerns”) is an individual residing in

Kathleen, Georgia, in Houston County. Kerns is a self-proclaimed subject matter

expert on narcissistic behavior and promotes life-coaching services on social media

websites, primarily on TikTok and Instagram, through the usernames

@whatdoesitmatter, @whatdoesitmatternow, and @iamsam.xo.

      3.     Defendant Tracy Korslund (“Korslund”) is an individual residing in

Lennox, South Dakota. Korslund is an abuse survivor who regularly publishes

content relating to domestic abuse on social media websites, primarily on TikTok

and Instagram, through the usernames @narctok_royalty. @the.silliest.ho, and

@jadalous.

      4.     Defendant Laurinda Kirk (“Kirk”) is an individual residing in Lithonia,

Georgia. Kirk is an abuse survivor who regularly publishes content relating to

domestic abuse on social media websites, primarily on TikTok, through the

usernames      @wholesomehealingatl,         @reallaurinda,    @narctokog       and

@hotdoghealing.

                         JURISDICTION AND VENUE

      5.     This Court possesses federal diversity jurisdiction under 28 U.S.C. §

1332 as the parties are diverse in citizenship and the amount in controversy exceeds

$75,000.


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      6.     Venue is proper in the District Court for the Middle District of Georgia

pursuant to 28 U.S.C. § 1391(b)(1).

                           FACTUAL BACKGROUND

      7.     Plaintiff is a domestic abuse survivor who has chosen to devote her

career to improving legislation to provide better support for domestic violence

victims. To that end, Plaintiff founded her nonprofit organization, No Peace No

Quiet, in 2021. Her organization additionally connects domestic abuse victims to

resources to aid in their recovery.

      8.     Plaintiff developed an online application for domestic survivors to

report misconduct or abuse they experience from others on social media, called the

Misconduct Ticketing System (“MTS”), which is available on her organization’s

website: nopeacenoquiet.org. The MTS is designed to protect the domestic violence

survivor community from harmful or fraudulent behavior online. Reporting to the

MTS is secure and anonymous. Plaintiff has never released personal information or

other data submitted to the MTS.

      9.     Plaintiff designed her nonprofit organization, as well as the MTS, to be

resources for domestic abuse victims to be able to lean on when going through their

extremely difficult and challenging moments in their life. To that end, Plaintiff’s




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reputation, as well as the reputation of her organization and the MTS, is critical to

achieving this goal and providing critical resources to domestic abuse survivors.

      10.    Since November 2021, Plaintiff has been the victim of a targeted social

media smear campaign, primarily driven by the Defendants, that is intended to

defame her and her organization in the domestic violence survivor community and

to discourage survivors from seeking the resources she provides or otherwise

associating with Plaintiff.

      11.     Upon information and belief, Defendants’ harassment began in

October 2021 as a response to misinformation that the Plaintiff was responsible for

accusing another member of the survivor community of sexual harassment.

      12.    Plaintiff publicly launched the MTS on November 19, 2021 on social

media, to encourage survivors to take advantage of the system. Plaintiff was fully

transparent about what information the MTS collects and how the information is

used. Plaintiff spoke about the MTS in several videos published to TikTok using the

account @loveandjustice5 and @nopeacenoquiet.

      13.    Defendants’ have spread false and defamatory information primarily on

TikTok and Instagram about the Plaintiff’s personal history and the MTS to

discourage survivors from associating with Plaintiff, her organization, and/or

utilizing the MTS.


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      14.    On November 26, 2021, shortly after the MTS was launched and the

Defendants’ harassment began, an unknown individual attempted to hack into the

MTS to obtain victims’ personal data. Plaintiff’s safeguards were able to detect and

stop the hacking attempt, as well as capture the IP address used by the hacker.

Plaintiff publicly posted the IP address in an attempt to identify the hacker.

      15.    Upon information and belief, and by her own admission, the IP address

associated with the hacker belonged to Defendant Korslund.

      16.    On November 27, 2021, Defendant Kerns published a video on TikTok

using the account @whatdoesitmatter. In the video, Kerns plays part of one of

Plaintiff’s videos explaining the MTS, and then states that: “if you are a victim of

abuse do not interact with that message board in any way, it is not a secured site”;

“all of her legal documentation is still pending”; “keep your information safe, she

has already posted somebody’s IP address in an effort to intimidate somebody.”

Defendant Kerns additionally points out that Plaintiff’s video is copyrighted and

should not be reproduced without permission and states that: “I did not get your

approval to use this in anyway and I wanna see what you are going to do” and tells

Plaintiff to “stop taking advantage of abuse survivors.”

      17.    Defendant Kerns’ statements are false, defamatory, and otherwise cast

the Plaintiff in a false light. Plaintiff’s website is secure, her organization has all


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proper legal accreditation, and she has never publicly posted an IP address of a

victim that was submitted to the MTS. Plaintiff does not take advantage of abuse

survivors in any way. This video was later deleted by either TikTok or Defendant

Kerns.

       18.   On November 29, 2021, Defendant Kerns published another video on

TikTok using the account @whatdoesitmatter. Kerns again plays a portion of the

Plaintiff’s video explaining the MTS. Kerns added text over the video stating “Do

NOT trust this website. Nothing is ever anonymous.” Kerns goes on to state that the

Plaintiff is “one of the most dangerous individuals [Kerns] has ever seen on this

app.” This video was later deleted by either TikTok or Defendant Kerns.

       19.   Defendant Kerns’ statements are false, defamatory, and otherwise cast

the Plaintiff in a false light. Plaintiff’s MTS is an anonymous reporting portal and

Plaintiff is not in any way dangerous or otherwise maliciously targeting victims of

domestic violence.

       20.   Defendant Kerns has openly encouraged other TikTok users, including

the other Defendants, to engage in harassing and defamatory conduct towards

Plaintiff.

       21.   On November 27, 2021, Defendant Korslund published a video on

TikTok, using the account @narctok_royalty, entitled “Leaked Data From


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NoPeaceNoQuiet.org Ticketing System.” The video publishes fake complaints

submitted that, upon information and belief, the Defendants submitted to the MTS

with the intent to harass the Plaintiff. This video is false, defamatory, and otherwise

casts the Plaintiff in a false light before the public.

       22.     On November 29, 2021, Defendant Korslund published a video on

TikTok to the account @narctok_royalty, in conjunction with a video posted by

Defendant Kerns. Defendant Korslund placed text over the video stating: “When

someone else and I had a issue [Plaintiff] then used my data/info from her website.”

The    video     is   still   available   on       TikTok   at   the   following   URL:

https://www.tiktok.com/@narctok_royalty/video/7036127491538472239.

       23.     Defendant Korslund’s statement on the video is false, defamatory, and

otherwise casts the Plaintiff in a false light. Plaintiff has not released information

submitted by Korslund or any other individual through the MTS.

       24.     On December 3, 2021, Defendant Korslund published a video on

TikTok, using the account @narctok_royalty. Korslund plays a portion of Plaintiff’s

video explaining the MTS. The video is still available online at the following URL:

https://www.tiktok.com/@narctok_royalty/video/7037588241091988783. In the

video, Korslund states: “[the MTS] is not even close to being anonymous, you have




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to give your info, and this woman doxxed my IP.” Korslund then shows a series of

screenshots of and concerning the Plaintiff as follows:

            a. A screenshot of Plaintiff’s post regarding the hacker’s IP address.

               Korslund goes on to state that Plaintiff did not design the MTS for

               victims but for “herself and her own motives” and that Plaintiff “is a

               very dangerous woman.”

            b. A case summary of Mark Belmessieri v. Rachel DePalma 20CV370750

               and later shows page 8 of the amended complaint filed in that case,

               detailing Belmessieri’s third cause of action for intentional infliction of

               emotional distress.

            c. An edited text conversation allegedly between a “Mark” and “Diane”

               discussing what Defendants believed to be a restraining order against

               Plaintiff. Plaintiff has never had a restraining order of any kind issued

               against her.

      25.      Defendant Korslund’s video is false, defamatory, and otherwise casts

the Plaintiff in a false light before the public, intended to convey that the Plaintiff is

dangerous to domestic violence survivors. Mark Belmessieri v. Rachel DePalma was

a personal injury and defamation case brought against Plaintiff by her abuser in

2020, which was swiftly dismissed. Plaintiff has never had a restraining order of any


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kind issued against her. The MTS is anonymous, and Plaintiff has not released

information submitted through that portal.

      26.     Defendant Korslund reiterates her statement that Plaintiff “doxxed” her

IP address and has had restraining orders issued against her in a video published to

the account @the.silliest.ho on December 4, 2021. A copy of the video is still

available online at the following URL:

            a. https://www.tiktok.com/@the.silliest.ho/video/703792847270620702

              3?is_copy_url=1&is_from_webapp=v1&lang=en

      27.     Defendant Korslund additionally posted a four-part series of videos on

TikTok on December 8, 2021, to the @narctock_royalty account. In the videos,

Korslund is allegedly speaking to a sheriff tasked with investigating a complaint

filed by the Plaintiff. Korslund again reaffirms her claim that Plaintiff “doxxed” her

IP address and that Plaintiff has been giving out misinformation to domestic abuse

survivors. Korslund makes the additional assertion that Plaintiff took money from

abuse survivors. The videos are still available online at the following URLs:

            a. https://www.tiktok.com/@narctok_royalty/video/7039475956196871

              470

            b. https://www.tiktok.com/@narctok_royalty/video/7039489665736412

              463


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             c. https://www.tiktok.com/@narctok_royalty/video/7039517120732106

               031

             d. https://www.tiktok.com/@narctok_royalty/video/7039529805636734

               255

       28.     On November 30, 2021, Defendant Kirk published a video to the

TikTok account @wholesomehealingatl. In the video, Kirk states that Plaintiff

“doxxed somebody’s IP address, this was somebody that was on her website

nopeacenoquiet.org.” Kirk goes on to state that the Plaintiff’s website “is not

secure…not encrypted, no security for you the user of the website,” that users should

use a VPN when visiting the website because “obviously [Plaintiff] is not using the

data they are getting for good, in fact, they are using it to doxx people on the Internet

which is something that [Kirk] is pretty sure is on their request form” and that

Plaintiff “has been taking money from people.” Kirk ends the video by referring to

Plaintiff as a “con artist.”

       29.     On November 30, 2021, Defendant Kirk published an additional video,

on the TikTok account @wholesomehealingatl, responding to a viewer’s comment.

In the video, Kirk again states that Plaintiff “doxxed someone’s IP address” and that

using Plaintiff’s website would be “unsafe.”




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      30.    On November 30, 2021, Defendant Kirk registered the domain name

“noquietnopeace.org” for the purpose of creating harassing and defamatory content

about the Plaintiff. The website stated that: “all I want to say is that you…do not

need an off app misconduct ticketing system to protect you. The owner of that app

is abusive and got upset when other abuse survivors asked legitimate questions;”

“that ticketing system is not safe. The owner of that organization has doxed people

that are members of her site. If she did it to them, she will do it to you.”

      31.    On the “noquietnopeace.org” website, Defendant Kirk additionally

insinuates that Plaintiff takes “advantage of abuse survivors and victims on social

media.” She created a form on the website that she called a “Smear Campaign

Misconduct Ticketing System.”

      32.    Shortly after creating the “noquietnopeace.org” website, Defendant

Kirk admitted to creating the website in TikTok videos published to the

@wholesomehealingatl account and for the express purpose of harassing Plaintiff.

A    copy     of    the    video     is   available    at    the    following   URL:

https://www.tiktok.com/@reallaurinda/video/7036480475006864686?is_copy_url

=1&is_from_webapp=v1&lang=en.

      33.    In at least one video, Kirk states that Plaintiff is personally accepting

donations from individuals through her organization.


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      34.      All of Defendant Kirk’s statements in her videos and the websites are

false, defamatory, and/or otherwise cast the Plaintiff in a false light. The Plaintiff

does not accept money through the MTS or otherwise require payments to be made

to her organization, does not release personal information submitted through the

MTS, and is not dangerous or otherwise take advantage of domestic violence

survivors.

      35.      On December 9, 2021, Defendants Korslund and Kirk participated in a

live video session on Instagram discussing the Plaintiff. During the live stream,

Korslund and Kirk stated that Plaintiff has multiple lawsuits against her, Plaintiff’s

website is not secure, and that “people paid [Plaintiff] money to make [the MTS].”

      36.      Since January 2022, Defendant Kirk deleted the noquietnopeace.org

website and has deleted most of her known social media accounts. Defendant Kerns’

TikTok account, @whatdoesitmatter, was deleted either by TikTok or by Kerns

herself.      Defendant    Korslund’s     TikTok     accounts,    @narctok_royalty,

@the.silliest.ho, and @jadalous, are still active.

      37.      The aforementioned statements published by Defendants were all

designed specifically to spread false information about Plaintiff, her organization,

and the MTS in an effort to destroy Plaintiff’s reputation and encourage other

domestic violence survivors to distrust Plaintiff and the services she provides.


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      38.    Specifically, Defendants’ statements attempt to paint Plaintiff as

someone who will disseminate sensitive personal information about domestic

dispute survivors, for no apparent reason, and who will put domestic abuse survivors

in a worse position.

      39.    Defendants’ false statements are designed to interfere with Plaintiff’s

personal life and to injuriously affect her in her trade and profession.

      40.    As a direct and proximate result of Defendants’ conduct, Plaintiff has

suffered injury to her reputation, shame, mortification, mental anguish and injury to

her feelings. Plaintiff has been repeatedly questioned by individuals, both within

her organization and outside her organization, about these accusations, which has

caused a significant lowering of Plaintiff’s reputation within the domestic abuse

support community.

      41.    The false statements by Defendants have caused Plaintiff to experience

significant mental anguish and disruption of her daily life. Plaintiff has experienced

depressive thoughts, anxiety, and general distress every time Defendants post a

video, living in fear of what defamatory allegations Defendants will publish next.

The Defendants’ actions have significantly prevented Plaintiff from living her life.

      42.    This reputational harm has prevented Plaintiff from growing her

organization, and has prevented Plaintiff from pursuing various partnerships and


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other opportunities for her organization. Simply put, Plaintiff has been prevented

from pursuing her life’s work as a result of this malicious defamatory campaign.

      43.     Additionally, Plaintiff has suffered a significant amount of pecuniary

harm, including expending numerous resources dealing with the false reports and

attacks on her website which, upon information and belief, were carried out by

followers of the Defendants.

                                    COUNT I
            (O.C.G.A. § 51-5-1(a) Defamation – Libel and Libel Per Se)

      44.     Plaintiff incorporates and realleges every allegation set forth above as

though fully set forth herein.

      45.     Defendants have intentionally published false and defamatory

statements of and concerning the Plaintiff to third parties via the Defendants’

respective social media accounts.

      46.     Defendants’ defamatory statements are as follows: Plaintiff’s MTS is

not secure, Plaintiff has published personal information submitted through the MTS,

Plaintiff accepted money from domestic violence victims to create the MTS, Plaintiff

is a con artist, Plaintiff is taking advantage of and/or is dangerous to domestic

violence victims, Plaintiff has been the subject of multiple lawsuits, and Plaintiff has

had restraining orders issued against her.



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       47.     The above statements are defamatory because they tend to injure the

Plaintiff’s reputation and expose her to public hatred, contempt, or ridicule.

       48.     The defamatory statements are false because Plaintiff’s MTS system is

secure, Plaintiff has not released personal information submitted through the MTS,

Plaintiff has not accepted money to create the MTS or otherwise taken advantage of

domestic violence victims, Plaintiff is not engaged in criminal activity, and Plaintiff

has not had any restraining orders issued against her.

       49.     The defamatory statements are defamatory per se as they tend to injure

the Plaintiff in her trade, occupation, or business.

       50.     Defendants published the False Statements without privilege.

       51.     Defendants published the defamatory statements with knowledge that

the statements were false, with actual malice, or at least with negligence as to their

falsity.

       52.     As a direct result of Defendants’ statements, Plaintiff has suffered

significant reputational, mental, emotional, and actual damages in excess of $75,000,

the full amount of which will be proven at trial.

                                   COUNT TWO
                         (Invasion of Privacy – False Light)

       53.     Plaintiff incorporates and realleges every allegation set forth above as

though fully set forth herein.

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       54.     Defendants’ falsely published statements about the Plaintiff depict the

Plaintiff as taking advantage of and being dangerous to domestic violence survivors.

       55.     Defendants’ statements have placed the Plaintiff in a false light before

the public.

       56.     Plaintiff has not taken advantage of domestic violence survivors and is

not dangerous to that community. On the contrary, Plaintiff has devoted her career

to assisting and supporting victims of domestic violence.

       57.     The false light in which the Plaintiff was placed would be highly

offensive to a reasonable person.

       58.     Defendants published the statements with knowledge that the

statements were false, with actual malice, or at least with negligence as to their

falsity.

       59.     As a direct result of Defendants’ statements, Plaintiff has suffered

significant reputational, mental, emotional, and actual damages in excess of $75,000,

the full amount of which will be proven at trial.

                                     COUNT III
                                  (Civil Conspiracy)

       60.     Plaintiff incorporates and realleges every allegation set forth above as

though fully set forth herein.



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      61.    Defendants acted maliciously and in concert in publishing the False

Statements about the Plaintiff.

      62.    Defendants acted in combination with the purpose of accomplishing an

unlawful end, i.e., publishing libelous statements about the Plaintiff and/or casting

Plaintiff in a false light before the public to damage Plaintiff’s reputation in the

community.

      63.    Defendants each agreed upon and/or engaged in a common design by

repeatedly defaming Plaintiff and/or casting her in a false light before the public.

      64.    As a direct result of Defendants’ False Statements, Plaintiff has suffered

significant reputational, mental, emotional, and actual damages in excess of $75,000,

the full amount of which will be proven at trial.

                             PRAYER FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff Rachel DePalma demands

judgment in her favor and against Defendants Samantha Kerns, Tracy Korslund,

and Laurinda Kirk on all counts, jointly and severally, as follows:

   a. Issuance by this Court of an Order decreeing that the False Statements

      regarding Plaintiff are false and defamatory;

   b. Injunctive relief that the Defendants are:




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        i.    prohibited from creating or publishing statements regarding Plaintiff,
              which defame, disparage, or contain libelous statements regarding
              Plaintiff; and

        ii.   ordered to take all actions necessary to remove all of the False
              Statements published from the Internet, including but not limited to,
              requesting removal of the False Statements from the Facebook pages of
              all Defendants and all groups Defendants are associated with;

   c. Actual and/or compensatory damages in an amount to be proven at trial;

   d. Pre- and post-litigation Interest at the maximum rate provided by law;

   e. Reasonable attorney’s fees to the extent permitted by law;

   f. Costs of this action; and

   g. For any and all other relief as this Court may deem Plaintiff just and proper.

                           JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury on all claims for relief and issues

triable by jury.




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    Respectfully submitted this 2nd day of March, 2022.

                                   /s/ Olga Izmaylova
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